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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

IRMA LEIBAS, et al.                            )
                                               )
                       Plaintiffs,             )       Case No. 2019 C 07592
v.                                             )
                                               )       The Honorable Judge Rebecca R. Pallmeyer
THOMAS J. DART, et al.,                        )
                                               )       Magistrate Judge Jeffrey Cole
                       Defendants.             )

     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS (Dkts. 11-12).

         Defendant Reierson is manipulating essential job functions lists by changing them to

include putative essential job functions that intentionally conflict with Plaintiffs’ medical

restrictions. First Amended Complaint (“FAC”), ¶¶4(d), 51, 56. The lists also include marginal

functions, rather than essential ones, are not representative of the true essential functions of the

Plaintiffs’ positions, and were developed using both the intent to conflict with medical

restrictions in some cases, and slap-dash, capricious impulse in others, and, in any case, were not

developed using any reliable method for the determination of true essential job functions. FAC,

¶¶48, 51, 52. Each Plaintiff has worked at the Sheriff’s Cook County Department of Corrections

(“CCDOC”) or Court Services Department for years, most of the time with their existing

restrictions, and have at all times been able to perform the Correctional Officer (“CO”) or

Deputy Sheriff (“DS”) job satisfactorily. FAC, ¶¶3, 38, 42, 52, 53, 54. Rather than letting

Plaintiffs alone, in late 2018, the Sheriff, through Reierson, subjected each of the Plaintiffs to, in

fact, a fitness-for-duty evaluation conducted under the auspices of the ADA accommodation

process. FAC, ¶¶4(a), (b), 39, 41, 44, 46, 49. None of the Plaintiffs requested an

accommodation around that time, but were, instead, unilaterally contacted by Reierson because

they had medical restrictions on the file.
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        The end result of this case – if it were to be dismissed – is that it would allow the Sheriff

to plow wholesale ahead with a movement driven towards eliminating all officers with

permanent medical restrictions from the CCDOC and Court Services, on its own, regardless of

whether or not employees were seeking accommodations or are performing their jobs

satisfactorily. Plaintiffs urge the Court not to read the ADA to allow employers to use it as a

sword in such a manner, to allow this case to proceed on the existing FAC, and to deny the

Motion to Dismiss (Dkt. 11-12) in its entirety for the following reasons.

   I.      Plaintiffs Have Adequately Plead ADA Discrimination In Count I.

        As to Count 1, Defendants argue that (1) Plaintiffs have not adequately plead that they

are disabled under the ADA, and, (2) that the ADA allows employers to require medical

examinations.

        1. All Plaintiffs Have Adequately Plead That They Have A Disability Under The ADA
           Or Are Otherwise Covered Under The ADA’s Subsection On Medical Examinations.

        Plaintiffs have adequately plead that they have ADA-qualifying disabilities. FAC, ¶38.

Plaintiff Leibas pleads that she has scleroderma, lupus, and raynaud’s syndrome “which are skin

and circulatory conditions that require her to wear gloves and a jacket at all times.” FAC, ¶38(a).

DiGioia pleads that she has fibromyalgia that “makes it more difficult for her to breathe” and that

prevents her from wearing a vest at work. FAC, ¶38(b). Tague pleads shoulder arthritis that

makes it difficult for her to qualify with a firearm. FAC, ¶38(c). Donis pleads a right knee

restriction that prevents prolonged kneeling, squatting, standing, and running/walking for long

distances. FAC, ¶38(d). Barker plead a stress-induced migraine condition. FAC, ¶38(e). Most

fatal to Defendants’ argument, though, is that Plaintiffs plead that each one of them (except

DiGioia) received a letter from Reierson which expressly stated that “[b]ased on the medical

information on file with the Cook County Sheriff’s Office (CCSO), it appears you are unable to

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perform one or more of the essential functions of your position.” FAC, ¶39. DiGioia has pleaded

that she was notified verbally about the contents of this letter. FAC, ¶40.

       Defendants state that these are bare allegations of medical restrictions without allegations

of impairments to a major life activity. Motion, p.4. While Plaintiffs Leibas, Donis, DiGioia, and

Tague have plead that their medical conditions in some way limit life activities expressly, all of

the Plaintiffs meet the ADA’s second and third definitions of a disability, to wit, that the

Plaintiffs have records of an impairment and that the CCSO has regarded them as having an

impairment. See 42 U.S.C. § 12102(2). This is plain from Reierson’s letter to each of the

Plaintiffs listed at Paragraph 39 or her verbal notice of same to DiGioia. FAC, ¶¶39-40. Under a

“regarded as” theory of disability, “the plaintiff must prove either that (1) the employer

mistakenly believes that the employee has an impairment that substantially limits a major life

activity, or (2) the employer mistakenly believes that an existing impairment that is not really

limiting does substantially limit a major life activity.” Nese v. Julian Nordic Construction Co.,

405 F.3d 638, 641 (7th Cir. 2005). “In other words, the employer ‘must believe either that one

has a substantially limiting impairment that one does not have or that one has a substantially

limiting impairment when, in fact, the impairment is not so limiting.’” Id. (citing Amadio v. Ford

Motor Co., 238 F.3d 919, 925 (7th Cir. 2001) and quoting Sutton v. United Air Lines, Inc., 527

U.S. 471, 489 (1999)). Reierson’s letter and verbal notice prima facie established that each

Plaintiff has a disability under the “regarded as” definitions.

       Worse for Defendants is the fact that all employees, regardless of whether or not they

have a qualifying disability, are protected under the ADA’s prohibition on medical examinations.

See 42 U.S.C. § 121129d)(4)(A); Wright v. Ill. Dep’t of Children and Family Services, 798 F.3d

513, 522 (7th Cir. 2015).


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       Defendants’ cited cases are no help. Cassimy v. Bd. of Educ. of Rockford Public Schools,

461 F.3d 932, 936 (7th Cir. 2006), was a summary judgment case where the plaintiff did not

produce enough evidence in discovery that his depression substantially limited major life

activities. Prince v. State Department of Revenue, 73 F.Supp.3d 889, 895 (N.D. Ill. 2010),

allowed an amendment of a complaint that merely referenced medical conditions without any

explanation of how they met the other requirements for ADA-coverage. There was no clear

argument under the “regarded as” definition from the Prince pleading, as there is here.

       For these reasons, the Court should deny the Motion to Dismiss on this ground; however,

if the Court should grant the Motion on this basis, it should allow amendment like Prince.

       2. The Sheriff’s Office Is Not Allowed To Require Fitness-For-Duty Examinations In
          The Manner It Is Doing In This Case Where The Inquiries Are Not Job-Related Nor
          Consistent With Business Necessity.

       Defendants next claim that the ADA allows employers to “require medical examinations

and/or to make inquiries as to an employee’s disability.” Motion, pp. 4-5. The problem is that

this judicial district has already held that the issue of job-relatedness and business necessity in

requiring an employee to undergo a fitness-for-duty examination is a question for a jury. See

Wright v. Ill. Dep’t of Children and Family Services, 798 F.3d 513, 523-524 (7th Cir. 2015).

Under the EEOC’s enforcement guidance, an “examination is job-related and consistent with

business necessity when an employer has a reasonable belief based on objective evidence that a

medical condition will impair an employee’s ability to perform essential job functions or that the

employee will pose a threat due to a medical condition.” Id. at 522-23 (citing Coffman v.

Indianapolis Fire Dep’t, 578 F.3d 559, 565 (7th Cir. 2009) (“Coffman”)). The employer’s

reasonable belief “must be based on objective evidence obtained, or reasonable available to the

employer, prior to making a disability-related inquiry or requiring a medical examination.” Id.


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“Such a belief requires an assessment of the employee and his/her position and cannot be based

on general assumptions.” Id. So too, an employer must show that the asserted business necessity

is vital to the business, as opposed to a mere expediency. Id. (noting accord of Kroll v. White

Lake Ambulance Auth., 763 F.3d 619, 623 (6th Cir. 2014)). Such an examination must

“genuinely serve the asserted business necessity and be a reasonably effective method for

achieving the employer’s goal.” Id. (internal quotations omitted). “An employer cannot merely

rely on reasons that have been found valid in other cases but must actually show that the

requirement contributed to the achievement of those business necessities.” Id. (internal

quotations omitted). An employer’s standard practice with regard to medical examinations is

relevant evidence of necessity, as is differential application. Id. at 524.

       Remarkable about the foregoing rules is the fact-intensive inquiry that they require in

every case, and that the “job-related” and “consistent with business necessity” inquiries are

questions of fact for juries to decide, not courts on motions such as this. The Wright court even

treated these questions as if they are to be decided by juries, not on the pleadings. See id. at 524-

26. Further, Defendants’ Motion baldly asserts that the inquiries were job-related as follows:

“[t]he Sheriff’s Office’s inquiry into the nature and severity of Plaintiffs’ restrictions were job-

related and consistent with its business necessity and were to ascertain the ability of the Plaintiffs

to perform job-related functions.” Motion, p.5. But what about the fact that Plaintiffs have plead

that they all performed the CO and DS jobs for years with these same restrictions? FAC, ¶¶3, 38,

42, 52. This allegation completely undermines the employer’s business necessity and job-

relatedness assertion, as does the allegation that Reierson is manipulating the essential functions

checklists specifically to force out employees with medical restrictions. FAC, ¶¶52-56 (compare

the two checklists sent to Leibas and Barker, which are for the same job but contain different


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essential functions and were from the same time period). The bottom line is that the Defendants

may and certainly will raise “job-relatedness” and “business necessity” as a defense, but they

cannot get this case dismissed on those bases for exactly the reason that these questions are for a

jury to decide (or at a minimum are for summary judgment).

       The employer’s cited cases are no help. Malkowski v. PTC Capital Corp., 1998 WL

142374 at *4-5 (N.D. Ill. 1998) is a summary judgment case, but also involved an employee who

refused to submit to a medical examination, who had a stroke resulting in him missing only one

day of work that did not constitute a “disability” under the ADA, and who did not show that the

employer even knew about the stroke. Coffman was also decided on summary judgment, not on

the pleadings, and the analysis took the form of analyzing multiple sources of evidence justifying

a medical inquiry that are not present in this case. 578 F.3d 559 (7th Cir. 2009). Atkinson v. SG

Americans Sec., LLC, 693 Fed. Appx. 436, 440 (7th Cir. 2017) – respectfully -- appears to

misstate the applicable regulations on medical examinations, none of which allow an employer to

escape the job-related and consistent with business necessity inquiry. See 29 C.F.R. §

1630.14(c) (providing that covered entities may require medical examinations of employees that

are “job-related” and “consistent with business necessity.”). The latter regulation further

cautions that medical inquiries of current employees “shall not be used for any purpose

inconsistent with this part.” 29 C.F.R. § 1630.14(c)(2). Plaintiffs plead Defendants are using the

ADA as a sword to fish out employees with permanent medical restrictions from the workplace.

FAC, ¶¶4, 52, 57. While the regulations do not loosen the “job-related” requirement, even if

they did, the same regulations prohibit using the medical examination process for improper

purposes such as intentional discrimination. Plaintiffs submit that using the ADA to eliminate

employees with permanent medical restrictions is such an improper purpose.


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         For the foregoing reasons, the Court should deny Defendants’ Motion as to Count I.

   II.      Plaintiffs Have Adequately Plead An Equal Protection Deprivation In Count II.

         1. Engquist Does Not Bar Plaintiffs’ Claims, And This Jurisdiction Uses A Rational
            Basis Test For Disability Claims Under The Equal Protection Clause.

         Defendants argue that Engquist bars class-of-one Equal Protection claims in employment.

This argument fails because this is not a “class of one” case, and Engquist has since been

staunchly recognized as not applying to “suspect classification” -based Equal Protection claims

such as this one. See, e.g., Abcarian v. McDonald, 617 F.3d 931, 938 (7th Cir. 2010)

(recognizing the difference between class-of-one EP claims, and suspect class ones, while citing

to Engquist).

         More on point, though, is Arce v. Chicago Transit Authority, 193 F.Supp.3d 875, 893

(N.D. Ill. 2016), which discusses whether or not disability-based Equal Protection claims are

permissible in this jurisdiction. It concludes that they are. Id. at 894. While Judge Feinerman

acknowledged conflicting cases on this issue from the Tenth and Second Circuit Courts of

Appeals, he followed the Seventh, Ninth, Sixth, and First Circuits Courts of Appeals’ approaches

of using a “rational basis” test. Id. He applied such a test to an individual’s discrimination claims

brought under the Equal Protection clause. Id. Judge Feinerman recognized that “[t]he burden is

on the challenger to eliminate any reasonably conceivable state of facts that could provide a

rational basis for the classification.” Id. (quoting D.B. ex rel. Kurtis v. v. Kopp., 725 F.3d 681,

686 (7th Cir. 2013)); see also Srail v. Village of Lisle, Ill., 588 F.3d 940 (7th Cir. 2009). Here,

Plaintiffs have plead that the Sheriff’s Office is using the ADA as a means to fish out employees

with permanent medical restrictions, despite that these employees have been performing these

jobs for a long time with their restrictions. FAC, ¶¶4, 52, 57. This is not a rational basis for

subjecting Plaintiffs to fitness-for-duty examinations and ousting them from their positions under

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the Equal Protection clause. Indeed, this jurisdiction expressly recognizes that proof of

illegitimate animus may be part of proving a lack of rational basis. See, e.g., Srail v. Village of

Lisle, Ill., 588 F.3d 940, 944 (7th Cir. 2009) (containing a good discussion on this issue and

citing to Hilton v. City of Wheeling, 209 F.3d 1005, 1008 (7th Cir. 2000) and Lunini v. Grayeb,

395 F. 3d 761, 768 (7th Cir. 2005)). Defendants argue that Plaintiffs are not members of a

suspect class as persons with disabilities. Motion, p. 8. Arce and cases cited in it belie this

argument, but, regardless Defendants’ cited cases still apply rational basis review to disability-

based claims. See United States v. Harris, 197 F.3d 870, 876 (7th Cir. 1999) (“Therefore, we

apply rationality review to claims of discrimination made by persons in this class.”). Worse,

Defendants cite to Abcarian v. McDonald, 617 F.3d 931, 938 (7th Cir. 2010), but that case

supports Plaintiffs’ claim by showing that Engquist does not bar all employment-based Equal

Protection claims, nor does Abcarian say anywhere that disability is not a suspect classification.

       Defendants baldly claim that Plaintiffs have not pled that Defendants’ acted without a

rational basis, citing to Dargis v. Sheahan, 526 F.3d 981 (7th Cir. 2008), and Miller v. Illinois

Department of Corrections, 107 F.3d 483, 485 (7th Cir. 1997). Again, both of these were

summary judgment decisions. Dargis, 526 F.3d 981 at 983; Miller, 107 F.3d 483 at 484. So too,

the Miller plaintiff was near-blind and required a seeing-eye dog. Id. at 484. The Dargis plaintiff

suffered a stroke and had upwards of five separate medical restrictions that severely limited

where he could work. Dargis, 526 F.3d 981 at 983. All of the Plaintiffs in this case (1) have

been working with the permanent restrictions and can perform their jobs just fine, and (2) have

comparatively limited restrictions when compared with the broad and severe restrictions on the

Miller and Dargis plaintiffs. For example, Leibas needs to wear gloves and a jacket, DiGioia

needs to not wear a vest, Donis needs to avoid kneeling, squatting, standing, and


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running/walking for long periods of time, Tague needs to not qualify with a firearm, and Barker

needs to avoid high stress. FAC, ¶38.

        Defendants do not tell the Court what their claimed-basis is for their medical inquiries

and ouster / attempted ouster of Plaintiffs from their long-held positions, but they seem to

suggest they want Plaintiffs to be fungible. See Motion, p.9. The problem is that not only have

the Plaintiffs alleged that they can perform their jobs and, thus, are fungible (FAC, ¶3), but also

that Reierson is changing the essential functions with the specific purpose of fishing them out of

the workplace and including essential functions that are only marginal in order to do so. FAC,

¶57 (pleading this). “The term essential functions means the fundamental job duties of the

employment position the individual with a disability holds or desires.” 29 C.F.R. § 1630.2(n)(1).

“The term ‘essential functions’ does not include the marginal functions of the position.” Id.

EEOC regulations instruct that:

Evidence of whether a particular function is essential includes, but is not limited to: (i) The
employer’s judgment as to which functions are essential; (ii) Written job descriptions prepared
before advertising or interviewing applicants for the job; (iii) The amount of time spent on the
job performing the function; (iv) The consequences of not requiring the incumbent to perform
the function; (v) The terms of a collective bargaining agreement; (vi) The work experience of
past incumbents in the job; and/or (vii) The current work experience of incumbents in similar
jobs.

        Id.; see also Stragapede v. City of Evanston, 69 F.Supp.3d 856, 863-64 (N.D. Ill. 2014).

Here, Plaintiffs have alleged that they are being subjected to essential functions checklists that

contain “marginal functions,” and that they have been performing their jobs adequately for years.

FAC, ¶¶4(d), 51 (paragraph 51 specifically follows the regulation).1 All of this goes back to the




1For the Court’s knowledge, there is a case pending at the summary judgment before Judge Kness (formerly
assigned to Judge Chang) dealing with this very regulation and the extent to which marginal versus essential
functions are being utilized in the “Essential Functions” determination at the Cook County Sheriff’s Office. Cross-
Rule 56 Motions are pending. See generally Tate v. Dart, 17-cv-0888, Dkts. 78-80, 103-104.
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concern in Wright that the “job-relatedness” defense be a matter for the jury. So should the

rationality test with this pleading.

        2. Plaintiffs May State A 42 U.S.C. § 1983 Claim Along With The ADA Here.

        Defendants next argue that the ADA provides a comprehensive framework for addressing

interactive process-based claims, and it is improper to state such claims under 42 U.S.C. § 1983.

If Plaintiffs were pleading a run-of-the-mill interactive process violation, Defendants would have

a point; however, their claims encompass (i) forced fitness-for-duty evaluations, (ii) fait

accompli outcomes of forced medical evaluations based upon sham essential job functions lists,

(iii) untrue, tailored, and manipulated essential job functions list that guarantee Plaintiffs will be

found unable to perform their essential job functions, and (iv) being unilaterally approached by

the Employer and subjected to fitness inquiries without the Plaintiffs even asking for

accommodations, and without the Employer having any basis to ask except for long-on-file

medical restrictions. FAC, ¶¶4, 40, 50. The Court need look no further than the included Lists

given to Leibas and Barker to see that, in fact, Reierson was manipulating and changing these

lists depending on whom she was giving them to. FAC ¶¶48, 54, 55. Also noteworthy is that

DiGioia’s list explicitly references that wearing a “vest” is part of essential job function, which

very conveniently is the thing DiGioia is not supposed to do – and CCDOC officers also wear

vests in some units, such as External Operations, but that is not part of their essential functions

list – why the difference, unless Reierson is just adding to these lists on whimsy? FAC ¶¶48, 54,

55. Dargis v. Sheahan dealt only with a narrow interactive-process claim that, in fact, was

entirely premised on the ADA – no substantive right to an interactive process would exist

without the ADA. However, this case pleads that the fitness-for-duty inquiries are done with

impermissible motives underlying them – that is, to fish out employees with permanent medical


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restrictions from the workplace on a widespread basis. FAC ¶56; see Srail v. Village of Lisle, Ill.,

588 F.3d 940, 944 (7th Cir. 2009); Hilton v. City of Wheeling, 209 F.3d 1005, 1008 (7th Cir.

2000); Lunini v. Grayeb, 395 F. 3d 761, 768 (7th Cir. 2005) (all recognizing impermissible

motives as part of an Equal Protection rational basis analysis). Tate v. Dart, 2019 U.S. Dist.

LEXIS 41341 at *6 (N.D. Ill. 2019) involved a straightforward attempt to plead a violation of the

ADA’s retaliation provision straight under 42 U.S.C. § 1983. Plaintiffs are not doing that here,

but, instead, alleging numerous acts of differential treatment because of their medical

restrictions, all being spearheaded by Reierson. Under these circumstances, Plaintiffs should be

allowed to bring their 42 U.S.C. § 1983 claim like the Plaintiff did in Arce.

          3. Plaintiffs Have Adequately Pleaded Differential Treatment.

          Defendants briefly state that Plaintiffs have not adequately plead disparate treatment.

They have. See FAC ¶¶ 53, 63, 67. Paragraph 64 even explains that alternative positions at the

same rate of pay were offered to some disabled employees, but not to Plaintiffs. FAC ¶64.

   III.      Reierson Is Not Entitled To Qualified Immunity.

          Defendants’ qualified immunity argument is so undeveloped it almost precludes a

response. Motion, pp. 9-10. Plaintiffs nonetheless incorporate their foregoing discussion on the

ADA and the Equal Protection claims as evidence that the rights Plaintiffs’ claim were violated

are clearly-established. See, e.g., Arce v. Chicago Transit Authority, 193 F.Supp.3d 875, 893

(N.D. Ill. 2016); Abcarian v. McDonald, 617 F.3d 931, 938 (7th Cir. 2010); Srail v. Village of

Lisle, Ill., 588 F.3d 940, 944 (7th Cir. 2009); Wright v. Ill. Dep’t of Children and Family

Services, 798 F.3d 513, 523-524 (7th Cir. 2015) (job-relatedness and business necessity

questions for the jury). So too, Plaintiffs are claiming that their subjection to unwitting fitness-

for-duty examinations based on untrue, and marginal, job functions, and to a sham interactive


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process designed to guarantee Plaintiffs’ failure, demonstrate a violation of the foregoing rights.

Spring-Weber v. City of Chicago, 2017 WL 1316267 (N.D. Ill. 2017), dealt with warrantless

drug testing of firefighters without an on-point decision from the Seventh Circuit, and was

otherwise about a claimed violation of a right-to-privacy – that is not alleged in this case. Id. at

*8-9. Accordingly, the Court should deny Defendants’ Motion based on qualified immunity.

   IV.      Plaintiffs Have Plead A Monell-Based Equal Protection Claim In Count III.

         Defendants argue that there is no underlying constitutional deprivation to support a

Monell claim to begin with. Motion, p.11. Plaintiffs refer to, and incorporate by reference, their

argument in the prior section on the Equal Protection Clause as their response to this argument.

         Defendants next state that Plaintiffs have not adequately alleged injurious action by a

final policymaker, and then state that Defendant Reierson is not a final policymaker. Motion,

p.11. However, Plaintiffs are not alleging that Reierson is a final policymaker, but rather that

Dart is, and that Dart enacted policies and practices of subjecting Plaintiffs and similarly-situated

officers to fitness-for-duty examinations under the auspices of the ADA accommodation process,

subjecting them to essential functions analyses that are concocted, untrue, and comprised of

marginal functions, and offering some employees with disabilities positions without a cut in pay,

but not Plaintiffs. FAC ¶¶66-70. In other words, Plaintiffs are stating a practice-based Monell

claim as well as a claim that Sheriff Dart (not Reierson) enacted the current set of complained-of

policies. See Logan v. City of Chicago, 2018 WL 5279304, at *5 (N.D. Ill. 2018) (recognizing a

low standard of pleading for Monell claims and that language not dissimilar from that here was

sufficient to state a pattern-and-practice claim); Consolino v. Dart, 2019 WL 4450498 (N.D. Ill.

2019) (Monell claims need only abide by Rule 8(a)(2)’s requirement of a “short and plain

statement of the claim”). It should also be noted that proof that the practice is widespread is in


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the fact that this case has five Plaintiffs, all of whom have been subjected to the same set of

practices. FAC ¶32. The count also pleads that the same practices are being imposed on

“similarly-situated officers.” FAC ¶¶67, 69. Accordingly, Plaintiffs have adequately stated

Monell pattern-and-practice and final policymaker-based claims.

   V.      Plaintiff DiGioia Has Adequately Plead An FMLA Claim In Count IV.

        Defendants nitpick the FMLA interference and retaliation claim when it is perfectly

obvious what Plaintiff DiGioia is alleging: she requested to use FMLA for a family member (not

herself), and got a call back from Reierson asking her – DiGioia – to update her own medical

restrictions. FAC ¶¶77-78. Then Reierson emailed DiGioia, in the same email chain where

DiGioia was requesting FMLA for her family member, about DiGioia’s own medical

restrictions. FAC ¶79. This led to Reierson visiting DiGioia at her workplace and advising her

that the restriction on not wearing a vest prevented DiGioia from performing the essential

functions of the DS position. FAC ¶80. In other words, as stated as Paragraph 81, DiGioia’s

inquiring if she could use FMLA for her family member, triggered an immediate inquiry into

DiGioia’s own medical restrictions and fitness to perform her job functions – which had nothing

to do with DiGioia’s FMLA request. FAC ¶81. Defendants want to grouse that the FAC does not

state that DiGioia was eligible for FMLA, that the Sheriff was covered by the FMLA, and that

DiGioia did not allege other elements of an FMLA interference claim. Motion, p.11.

        First, Defendants are partially wrong because the FAC pleads that the Sheriff is an

FMLA-employer. FAC ¶18. Second, Plaintiff avers that she has plead enough to state both an

interference and retaliation claim, and that Defendants are simply wasting time when the

pleading makes it perfectly clear that DiGioia’s inquiry into FMLA led immediately to her

having her own fitness for duty in play. How is a reasonable employee in Plaintiff’s position not


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supposed to be dissuaded from inquiring about the FMLA when it can lead to inquiries about

fitness-for-duty such as occurred to DiGioia? However, if the Court finds the count deficient on

technicals (as opposed to notice pleading), Plaintiff requests leave to amend the count.

   VI.      Plaintiffs Barker And Leibas Have Adequately Pleaded Due Process Claims.

         This Court has recognized that Cook County CO’s and DS’s have a protected property

interest in their continued employment. Dargis v. Sheahan, 2005 WL 946909 at *10 (N.D. Ill.

2005); Ellis v. Sheahan, 2004 WL 2392055, *2 (N.D. Ill. 2004); Garrido v. Cook County

Sheriff’s Merit Board, 349 Ill.App.3d 68, 78 (1st Dist. 2004); 55 ILCS 5/3-7012. Both Plaintiffs

Leibas and Barker have been deprived of their positions as Correctional Officers through

Reierson’s actions. FAC ¶¶86 (Barker was forced to take an AAII position at a $20,000 loss), 87

(Leibas has been forced onto disability at the cost of 1/3 of her current salary). Neither Plaintiff

was afforded a hearing before these losses. FAC ¶88. This Court already found a due process

violation in Dargis v. Sheahan under similar circumstances where the deputy was in “zero-pay

status,” although technically not terminated. Dargis, 2005 WL 946909 at *10. Contrary to

Defendants’ characterization of Leibas’ and Barker’s claim as being about “reassignment,” it is

actually about being removed from their positions and taking a significant loss in pay in both

instances. FAC ¶¶86, 87. Losses in pay such as this do trigger due process protections. Lett v.

City of Chicago, 2019 WL 1200609 at *4 (N.D. Ill. 2019); Grady v. Bd. of Trs. of N. Ill. Univ.,

78 F. Supp. 3d 768, 777 (N.D. Ill. 2015) (noting that due process protections are triggered by

indirect economic effects); Head v. Chicago Sch. Reform Bd. of Trs., 225 F.3d 794, 803 (7th Cir.

2000) (accord). Barker, moreover, was forced to accept an AAII position apart from her

Correctional Officer position. FAC ¶86. Plaintiffs have adequately stated a protected property

interest that triggers due process protections.


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       Defendants next argue that Plaintiffs have not availed themselves of existing state

remedies, which they claim include writs of certiorari and mandamus. But this flies in the face

of Dargis, in which this Court ordered a hearing before the Merit Board as part of its ruling on

the due process claim. See Dargis v. Sheahan, 526 F.3d 981, 991 (7th Cir. 2008). The precise

problem here is that Plaintiffs Leibas and Barker were deprived a pay with no such hearing, or

even notice or opportunity to be heard. As in Dargis, the court should order a similar hearing.

       Moreover, Defendants (and the Courts, too, it seems) do not state how mandamus or

certiorari are even available remedies for this situation. What is the clear duty of the public

official and clear right that Plaintiffs would be seeking to enforce under a mandamus action? Or

what are petitioning a court for when they ask for a writ of certiorari? Plainly, these remedies

just do not fit the instant facts, and Defendants do not explain how those remedies are supposed

to work here. See, e.g., Ryan v. City of Chicago, 2019 IL App (1st) 181777 (1st Dist. 2019)

(“The extraordinary writ of mandamus is not appropriate to regulate a course of official conduct

or enforce the performance of official duties generally” and recognizing that a plaintiff seeking

mandamus must establish a clear right to relief, a clear duty by the public official to act, and

clear authority of the official to comply.” (internal quotations omitted)). Notably, none of the

cases that extol the virtues of mandamus and certiorari ever explain how those are adequate state

law remedies, either. See, e.g., Lett, 2019 WL 1200609 at *4 (N.D. Ill. 2019); Parisi v. Village

of Deerfield, 2008 WL 4865555 (N.D. Ill. 2008) (noting mandamus and certiorari were available

state remedies but never explaining how those are adequate remedies).

       Plaintiffs submit that mandamus and certiorari simply are not adequate remedies here.




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   VII.    Donis’ Prior Settlement Has Nothing To Do With This Case.

       This argument fails because nothing about Plaintiff Donis’ 2017 lawsuit related to the

factual allegations in this one. See Donis v. Cook County, et al., 17-cv-4212 (Dkts 1, 14). In an

accompanying motion for leave to file the settlement agreement under seal, Donis will provide

the Court a complete copy of the settlement agreement in 17-cv-4212; however, the relevant

portion of that Agreement contains the following language:




       See Exhibit A (pending under seal motion). The Agreement was signed in July 2018,

before any of the instant factual allegations occurred, and the Agreement is no bar to this claim.

Id. Further, the FAC pleads that Donis filed his EEOC Charge in April 2019, long after July

2018, and that the factual allegations underlying his claim began in or around August 2018. See

FAC ¶29. Paragraph 41 emphasizes that no Plaintiff received the Reierson letter prior to “Fall

2018.” FAC ¶41. Frankly, Defendants’ argument on this is frivolously wrong on the facts

alleged here, the scope of the prior lawsuit, and the language of the settlement agreement.

                                            CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court deny the Motion

to Dismiss (Dkts. 11-12) in its entirety.

DATED: March 2, 2020
                                              Respectfully submitted,

                                              /s/ Cass T. Casper
                                              ________________________________
                                              Plaintiffs’ Attorney
Cass T. Casper, Esq.
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that he served the foregoing document on counsel for

Defendants via this Court’s CM/ECF filing system, and that such counsel is a registered e-filer.

                                                    /s/ Cass T. Casper
                                                    _______________________________
                                                    Cass T. Casper, Esq.




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